Case 0:21-cv-61343-AHS Document 1 Entered on FLSD Docket 06/29/2021 Page 1 of 14




                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                     FORT LAUDERDALE DIVISION


   ANTHONY POCHIRO and BARBARA                              CASE NO.
   KUHNS on behalf of themselves and all others
   similarly situated,

               Plaintiff,

   v.

   SPIRIT AIRLINES, INC.,

            Defendant.


                            COMPLAINT AND DEMAND FOR JURY TRIAL

          Plaintiffs Anthony Pochiro and Barbara Kuhns (“Plaintiffs”) file this class action

   complaint (“Complaint”) on behalf of themselves and all others similarly situated, by and

   through the undersigned attorneys, against Spirit Airlines, Inc. (hereinafter “Spirit” or

   “Defendant”), and states as follows:

                                        I.      Nature of the Action

          1.        Spirit is a discount airline that offers its customers low fares with no frills. Spirit

   allows and encourages customers to purchase additional a la carte services. Specifically, during

   the period relevant to this Complaint, Spirit encouraged customers to upgrade their flight to

   include Spirit’s “Shortcut Boarding.” Spirit represented to its customers that purchasing the

   upgrade allowed customers priority boarding. The cost for the “Shortcut Boarding” upgrade

   was $11.98. During the COVID-19 pandemic, however, Spirit knew that due to state and federal

   health regulations, it would be unable to allow the early boarding privileges it advertised. Yet

   even in January of 2021, nine months into the pandemic, Spirit continued to market and sell the
Case 0:21-cv-61343-AHS Document 1 Entered on FLSD Docket 06/29/2021 Page 2 of 14




   upgrade packages and collect money for services that it knew that it could not and would not

   provide. This case seeks refunds for the thousands of customers duped by Spirit’s unfair and

   deceptive business practice.

                                    II.     Jurisdiction and Venue

           2.      As a result of regularly conducting business, promoting and/or selling, either

   directly or indirectly through third parties or related entities to consumers throughout the state

   of Florida, Defendant obtained the benefits of the laws of Florida.

           3.      The Court has jurisdiction over the state law claims pursuant to 28 U.S.C. §

   1332(d), because there are at least 100 Class members in the proposed Class, the combined

   claims of proposed Class members exceed $5,000,000.00 exclusive of interest and costs, and at

   least one Class member is a citizen of a state other than Defendant’s state of citizenship.

           4.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, because most of the

   events or omissions giving rise to Plaintiffs’ claims occurred in this District and Defendant is

   subject to personal jurisdiction in this District. Additionally, pursuant to 28 U.S.C. § 1391(d),

   Spirit is subject to personal jurisdiction in the Southern District because its principal place of

   business is located in the Southern District of Florida

                                           III.    The Parties

         5.        Plaintiffs Pochiro and Kuhns are citizens of Ohio and were residents of Ohio at all

  times relevant to this action.

           6.      Spirit is incorporated in Delaware and headquartered in Miramar, Florida and is

   a corporate citizen of both Delaware and Florida.
Case 0:21-cv-61343-AHS Document 1 Entered on FLSD Docket 06/29/2021 Page 3 of 14




                                     IV.     Factual Allegations

                                      A.      Shortcut Boarding

            7.    Spirit Airlines is a budget airline that offers very low basic fares. Spirit attempts

   to make up for these low fares by offering consumers the opportunity to contract for further

   amenities or services. Bag fees, seat selection, and food and beverage fees are just a few of the

   ways that Spirit uses add on fees to increase its profit margin.

            8.    “Shortcut Boarding” is Spirit’s proprietary upgrade that allows passengers to

   board in Zone 2, ahead of most other passengers.

            9.    Shortcut Boarding allows passengers to avoid waiting in the long boarding line

   and allows them to board the plane, find their seats and get settled while the plane is relatively

   empty.

            10.   During the COVID-19 pandemic, various state, federal, and local regulations

   made Shortcut Boarding either impracticable or illegal. Yet nine months into the pandemic,

   Spirit continued to sell Shortcut Boarding as an option and retain the money it charged from

   these sales.

            11.   Plaintiffs Pochiro and Kuhns purchased Spirit’s Shortcut Boarding option for

   $11.98 when booking their flights from Fort Lauderdale, FL to Cleveland, OH on Spirit’s

   website,www.spirit.com on December 14, 2020.

            12.   Plaintiffs’ flights relevant to this Complaint were all departing from the Fort

   Lauderdale-Hollywood International Airport.

            13.   The billing statements they received from Spirit showed the Shortcut Boarding

   charge as $11.98 (for both travelers). Likewise, the confirmations and the boarding passes sent

   by Spirit confirmed that the Plaintiffs had booked with the “Shortcut Boarding” option and noted
Case 0:21-cv-61343-AHS Document 1 Entered on FLSD Docket 06/29/2021 Page 4 of 14




   that they would board in “Zone 2.”

           14.     When it came time to board their flight, however, Mr. Pochiro and Ms. Kuhns

   were told by Spirit employees that they would not be allowed priority boarding in Zone 2

   because of COVID-19 safety measures.

           15.     Upon information and belief, Spirit’s failure to provide Shortcut Boarding is not

   limited to Fort Lauderdale-Hollywood International Airport. Instead, it is Spirit’s systematic

   company-wide practice to repeatedly enter into agreements and to have customers pay for its

   Shortcut Boarding option even where the airport the customer is traveling from does not actually

   provide the service.

           16.     Therefore, this is a simple class action case about Spirit’s methodical, common,

   unfair and deceptive business practice of offering and selling “advanced boarding” benefits

   when in fact, Spirit knew that it would be unable to provide them.

           17.     This practice violates the Florida Deceptive and Unfair Trade Practices Act FLA.

   STAT. § 501.201, et seq and in breach of the Shortcut Boarding contract Spirit possesses with

   Plaintiffs. Specifically, it was an unfair and deceptive practice for Spirit to enter into a Shortcut

   Boarding contract with consumers when Spirit knew that it would not or could not actually

   provide that service, and subsequently keep the monies consumers paid to Spirit, despite not

   delivering any benefit of the bargain to consumers.

           18.     The Shortcut Boarding Contract Spirit entered into with Plaintiffs and other

   similarly situated consumers is a separate and distinct agreement, and charge, from Plaintiffs’

   Spirit Airlines Contract of Carriage.

           19.     The Contract of Carriage governs Spirit customers’ flight reservation, flight fare,

   refusal of guests, acceptance of children, baggage, schedule changes, delayed flights, canceled
Case 0:21-cv-61343-AHS Document 1 Entered on FLSD Docket 06/29/2021 Page 5 of 14




   flights, denied boarding, refunds, non-revenue guests, tarmac delay plan, and guest service plan.

   Nowhere in the Contract of Carriage is the Shortcut Boarding contract incorporated by reference.

   Exhibit A.

          20.     Paragraph 13.2 of Spirit’s Contract of Carriage titled “No Class Action,” which

   prohibits class actions brought pursuant to Spirit’s Contract of Carriage, is inapplicable to the

   “Shortcut Boarding” contract between Plaintiffs and Spirit because the Shortcut Boarding

   contract between Spirit and Plaintiffs was separate and distinct from the Contract of Carriage.

           21.   Further, Florida courts have recognized that prohibitions on class actions are

  inconsistent with the purposes of the Florida Deceptive and Unfair Trade Practices Act

                                B.        The Airline Deregulation Act

          22.     The Airline Deregulation Act (“ADA”) preemption clause stops states from

   imposing their own substantive standards with respect to rates, routes, or services, but not from

   affording relief to a party who claims and proves that an airline dishonored a term that the airline

   itself stipulated. This distinction between what the States dictate and what the airline

   itself undertakes confines courts, in breach of contract actions, to the party’s bargain, with no

   enlargement or enhancement based on state laws or policies external to the agreement.

          23.     Here, Spirit dishonored the Shortcut Boarding contract agreement that it offered

   and stipulated to with Plaintiffs and that was a separate agreement from Spirit’s Contract of

   Carriage with Plaintiffs, therefore, the ADA does not preempt Plaintiffs’ state law claims.

                                     V.     Class Action Allegations

          24.     Plaintiffs seek to bring this case as a class action, pursuant to Rule 23 of the

   Federal Rules of Civil Procedure. The proposed classes are defined as follows:


                  Online Class: All persons within the United States who,
Case 0:21-cv-61343-AHS Document 1 Entered on FLSD Docket 06/29/2021 Page 6 of 14




                   according to Spirit Airline’s records, purchased the Shortcut

                   Boarding option from www.spirit.com after April 1, 2020, for a

                   specific date at a participating airport location and were not

                   afforded the priority boarding privileges for which they

                   contracted and paid, within the applicable limitations period.

                   Staffed Kiosk Class: All persons within the United States who,

                   according to Spirit Airline’s records, purchased Shortcut

                   Boarding from a Spirit staffed airport kiosk and were not afforded

                   the priority boarding privileges for which they contracted and

                   paid, within the applicable limitations period.

                   Electronic Kiosk Class:

                   All persons within the United States who, according to Spirit

                   Airline’s records, purchased Shortcut Boarding from a Spirit

                   electronic airport kiosk and were not afforded the priority

                   boarding privileges for which they contracted and paid, within the

                   applicable limitations period.

  Collectively, the Classes are referred to herein as the “Class.” Expressly excluded from the Class

  are: (a) any Judge or Magistrate presiding over this action and members of their families; (b) Spirit

  and any entity in which Spirit has a controlling interest, or which has a controlling interest in Spirit,

  and its legal representatives, assigns and successors; and (c) all persons who properly execute and

  file a timely request for exclusion from the Class.

           25.     Plaintiffs reserve the right to amend the Class definitions if further investigation

   and discovery indicates that the Class definitions should be narrowed, expanded, or otherwise
Case 0:21-cv-61343-AHS Document 1 Entered on FLSD Docket 06/29/2021 Page 7 of 14




   modified. Because Spirit is headquartered in Florida, its unfair and deceptive practices

   complained of herein were developed and orchestrated from its headquarters in Florida and

   Florida law should apply to all claims of all class members regardless of where they are located.

                                         Rule 23(a) Criteria

          26.    Numerosity. Spirit’s scheme has harmed and continues to harm consumers. The

  members of the proposed Class are so numerous that joinder of all members is impracticable.

          27.     The exact number of Class members is unknown as such information is in the

   exclusive control of Spirit. However, due to the nature of the trade and commerce involved,

   Plaintiffs believe the Class consists of easily thousands of consumers, geographically dispersed

   throughout the United States and within the state of Florida, making joinder of all Class

   members impracticable.

          28.    Commonality. Common questions of law and fact affect the right of each Class

  member and common relief by way of damages is sought for Plaintiffs and Class members.

          29.     The harm that Spirit has caused or could cause is substantially common and

   uniform with respect to Class members. Common questions of law and fact that affect the Class

   members include, but are not limited to:

                  (a)    Whether Spirit contracted to provide a non-existing Shortcut Boarding

                         service into the stream of commerce in Florida and other states;

                  (b)    Whether Spirit was unjustly enriched by the sale of Shortcut Boarding in

                         instances where it knew that it could not or would not provide that

                         service;

                  (c)    Whether Spirit knew, or should have known, that it would not or could

                         not provide the Shortcut Boarding services it sold;
Case 0:21-cv-61343-AHS Document 1 Entered on FLSD Docket 06/29/2021 Page 8 of 14




                  (d)     Whether Spirit engaged in fraudulent, false, deceptive and /or misleading

                          misconduct with respect to charging and collecting for Shortcut Boarding

                          at locations where Spirit did not or could not provide that service;

                  (e)     Whether Spirit omitted material information when it advertised,

                          marketed, and sold Shortcut Boarding; and

                   (f)    Whether the members of the Class have sustained damages and, if so, the

                          proper measure of such damages.

           30.   Typicality. The claims and defenses of the representative Plaintiffs are typical

  of the claims and defenses of the Class. Each named Plaintiff purchased the Shortcut Boarding

  option in the manner described herein and shall represent those class members that purchased

  through the same avenue. The claims of the named Plaintiffs are the same as the claims of

  similarly situated class members who also purchased the Shortcut Boarding option for Fort

  Lauderdale-Hollywood International Airport or other locations where the service was not

  available.

           31.   Adequacy of Representation. The representative Plaintiffs will fairly and

  adequately assert and protect the interests of the Class:

                  (a)     Plaintiffs have hired attorneys who are experienced in prosecuting class

                          action claims and who will adequately represent the interests of the class;

                          and

                  (b)     Plaintiffs have no conflict of interest between themselves and the class

                          members they seek to represent that will interfere with the maintenance of

                          this class action.
Case 0:21-cv-61343-AHS Document 1 Entered on FLSD Docket 06/29/2021 Page 9 of 14




                                        Rule 23 (b) Criteria

          32.    A class action provides a fair and efficient method for the adjudication of this

   controversy for the following reasons:

                 (a)     The common questions of law and fact set forth herein predominate over

                         any questions affecting only individual Class members;

                 (b)     While the Class is so numerous as to make joinder impractical, the Class

                         is not so numerous as to create manageability problems. There are no

                         unusual legal or factual issues that would create manageability problems;

                 (c)     Upon information and belief, Spirit is responsible for selling Shortcut

                         Boarding at Fort Lauderdale-Hollywood International Airport where the

                         service is not provided, making this forum appropriate for the litigation

                         of the claims of the entire Class; and

                 (d)     The claims of the individual Class members are small in relation to the

                         expenses of litigation, making a Class action not only superior to other

                         available options, but the only procedural method of redress in which

                         Class members can, as a practical matter, recover.

                                      VI.     Causes of Action

                                           COUNT I
                                       Breach of Contract
                                    (On Behalf of Online Class)

          33.    Plaintiffs repeat and re-allege paragraphs 1 through 32 as if set forth herein in full.

          34.    In or around December 14, 2020, Plaintiffs contracted with Spirit for Shortcut

   Boarding on www.spirit.com.

          35.    Plaintiffs Pochiro and Kuhns’ priority boarding contracts were separate and
Case 0:21-cv-61343-AHS Document 1 Entered on FLSD Docket 06/29/2021 Page 10 of 14




   distinct from their Spirit Contract of Carriage. The terms and conditions of the Contract of

   Carriage do not apply to the Plaintiffs and Class members’ Shortcut Boarding contracts.

              36.     Plaintiffs Pochiro and Kuhns’ and Class members performed all conditions

   precedent to filing this action.

              37.     Plaintiffs Pochiro and Kuhns’ and Class members’ Shortcut Boarding contract

   promised the ability to board in Zone 2, ahead of other passengers and without having to wait

   in a general boarding line.

              38.     Spirit breached the Shortcut Boarding contract with Plaintiffs Pochiro, Kuhns,

   and Class members because Spirit did not provide the Shortcut Boarding privileges for which

   the Plaintiffs and Class members contracted.

          39.         Plaintiffs and Class members received no benefit from the Shortcut Boarding

  contract.

              40.     As a direct and proximate result of Spirit’s breach, Plaintiffs Pochiro, Kuhns, and

   Class members were harmed when they paid for Shortcut Boarding but were not afforded the

   benefit for which they contracted.

          WHEREFORE, Plaintiffs, individually and on behalf of the Class, seek judgment from

  Spirit for damages as set forth in the prayer for relief below.

                                                COUNT II
                    Violation of the Florida Deceptive and Unfair Trade Practices Act
                                       FLA. STAT. § 501.201, et seq.
                                     (On Behalf of the National Class)

          41.        Plaintiffs repeat and re-allege every allegation in paragraphs 1 through 32 above,

  as if set forth herein in full.

              42.     Plaintiffs and Class members are “consumers” within the meaning of Fla. Stat. §

   501.203(7) because they are individuals.
Case 0:21-cv-61343-AHS Document 1 Entered on FLSD Docket 06/29/2021 Page 11 of 14




          43.     Spirit was engaged in “trade or commerce” within the meaning of Fla. Stat. §

   501.203(8) because they were offering and advertising the Shortcut Boarding service.

          44.     Spirit is headquartered in Florida and, on information and belief, it operates its

   callcenter and online purchasing software from within the State of Florida. It also collects funds

   from Shortcut Boarding sales within the State of Florida.

          45.     Spirit entered into contracts to provide Shortcut Boarding to Plaintiffs at a time

   when it knew that it would not or could not provide that benefit yet retained the monies Plaintiffs

   paid pursuant to the contract.

          46.     Spirit’s conduct constitutes unfair methods of competition, unconscionable acts

   or practices, and unfair or deceptive acts or practices within the meaning of Fla. Stat. § 501.204,

   et seq. because there was no designated Shortcut Boarding available at the Fort Lauderdale-

   Hollywood International Airport or other airports serviced by Spirit for the flights in which class

   members booked and paid for Shortcut Boarding.

          47.     As described above, Plaintiffs purchased Spirit’s Shortcut Boarding in reliance on

   Spirit’s false statements and omissions. A reasonable consumer would understand the Shortcut

   Boarding contract to mean that a purchaser would be permitted to board early, in Zone 2 as set

   forth on his or her confirmation and boarding pass.

          48.     Because Spirit charged a discrete fee for the Shortcut Boarding option, Spirit

   caused Plaintiffs’ injuries, which can be measured with specificity from the cost of the Shortcut

   Boarding contract.

          49.     As a result of Spirit’s misrepresentations, Plaintiffs suffered actual damages

   within the meaning of Fla. Stat. § 501.211, because the Shortcut Boarding contract service that

   Plaintiffs purchased was not provided.
Case 0:21-cv-61343-AHS Document 1 Entered on FLSD Docket 06/29/2021 Page 12 of 14




            WHEREFORE, Plaintiffs, individually and on behalf of the Class, seek judgment from

  Spirit for damages as set forth in the prayer for relief below.

                                              COUNT III
                                          Unjust Enrichment
                                    (On Behalf of the National Class)

            50.      Plaintiffs hereby restate the allegations of Paragraphs 1 through 49 above and

  incorporate them here as if fully rewritten.

             51.     Plaintiffs and the Class have conferred substantial benefits on Spirit by

   purchasing Shortcut Boarding, and Spirit has knowingly and willingly accepted and enjoyed

   these benefits.

             52.     Spirit either knew or should have known that the payments rendered by Plaintiffs

   and the Class were given and received with the expectation that a designated Shortcut Boarding

   line would be provided as represented and contracted for. For Spirit to retain the benefit of the

   payments under these circumstances is inequitable.

             53.     Spirit, through misrepresentations, intentional omissions, or other business

   practices in connection with the advertising, marketing, promotion, and sale of Shortcut

   Boarding reaped benefits, which resulted in Spirit’s wrongful receipt of payments for a service

   that was not provided.

             54.     Equity demands disgorgement of Spirit’s ill-gotten gains. Spirit will be unjustly

   enriched unless Spirit is ordered to disgorge those profits for the benefit of Plaintiffs and the

   Class.

             55.     As a direct and proximate result of Spirit’s wrongful conduct and unjust

   enrichment, Plaintiffs and the Class are entitled to restitution from an institution of a

   constructive trust disgorging all profits, benefits, and other compensation obtained by Spirit.
Case 0:21-cv-61343-AHS Document 1 Entered on FLSD Docket 06/29/2021 Page 13 of 14




         WHEREFORE, Plaintiffs, individually and on behalf of the Class, seek judgment from

  Spirit for damages as set forth in the prayer for relief below.

                                       VII.    Prayer for Relief

           WHEREFORE, Plaintiffs pray that this case be certified and maintained as a class action

           and for judgment to be entered against Defendant Spirit as follows:

               A. Enter an order certifying the proposed Classes, designating Plaintiffs as the Class

                   representatives, and designating the undersigned as Class counsel;

               B. Declare that Spirit is financially responsible for notifying all Class members of

                   the problems with Shortcut Boarding at certain locations;

               C. Declare that Spirit must disgorge, for the benefit of the Class, all or part of the

                   ill-gotten profits it received from the sale of non-existing Shortcut Boarding or

                   order Spirit to make full restitution to Plaintiffs and the members of the Class;

               D. For economic and compensatory damages on behalf of Plaintiff and all members

                   of the Class;

               E. For actual damages sustained;

               F. For punitive or exemplary damages;

               G. For injunctive and declaratory relief;

               H. For reasonable attorneys’ fees and reimbursement of all costs for the prosecution

                   of this action pursuant to the FDUTPA; and

               I. For such other and further relief as this Court deems just and appropriate.

                                              Jury Demand

         Plaintiffs hereby demand a trial by jury on all issues so triable.
Case 0:21-cv-61343-AHS Document 1 Entered on FLSD Docket 06/29/2021 Page 14 of 14




                                           Respectfully submitted,

  Dated: June 29, 2021                     /s/ Joshua H. Eggnatz, Esq
                                           Joshua H. Eggnatz, Esq.
                                           Fla. Bar No.: 0067926
                                           Michael J. Pascucci, Esq.
                                           Fla. Bar. No.: 83397
                                           EGGNATZ | PASCUCCI
                                           7450 Griffin Road
                                           Davie, FL 33314
                                           Tel: (954) 889-3359
                                           Fax: (954) 889-5913
                                           Mpascucci@JusticeEarned.com
                                           JEggnatz@JusticeEarned.com


                                           Jay R. Carson, Esq.
                                           To be admitted Pro Hac Vice
                                           WEGMAN HESSLER
                                           6055 Rockside Woods Blvd., Suite 200
                                           Cleveland, OH 44131
                                           Tel: (216) 642-3342
                                           Fax: (216) 642-8826
                                           JRCarson@WegmanLaw.com

                                           Attorneys for Plaintiff
